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  8                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  9
  10 MARK D PHILLIPS                                CASE NO:
                                                    5:18−cv−00505−JGB−KK
  11
  12                   Plaintiff(s),                STANDING ORDER
  13          v.
       MELISSA RAE JACKSON, et al.
  14
  15
                      Defendant(s).
  16
  17
  18          READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE
  19          AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
  20
  21    •      Plaintiff(s) shall immediately serve this Order on all parties along with the
  22          Summons and Complaint.
  23    •      If this case came to the Court by noticed removal, the removing
  24          Defendant(s) shall serve this Order on all other parties.

  25
  26          This action has been assigned to the calendar of Judge Jesus G. Bernal.
  27    ///
  28    ///

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            The Court and litigants bear joint responsibility for the progress of
  2    litigation in the Federal Courts. To secure the just, speedy, and inexpensive
  3    determination of every action, (Fed. R. Civ. P. 1), all counsel are hereby
  4    ordered to become familiar with the Federal Rules of Civil Procedure and the

  5    Local Rules of the Central District of California.*
  6
  7         The Court further orders as follows:
  8
  9         1.     Service of the Complaint. Plaintiff shall serve the Complaint
  10   promptly in accordance with Fed. R. Civ. P. 4 and file the proofs of service
  11   pursuant to L.R. 5−3.1.
  12
  13        2.     Removed Actions. Any answers filed in state court must be
  14   re−filed in this Court (separately) as a supplement to the petition. Any pending
  15   motions must be re−noticed in accordance with L.R. 6−1.
  16
  17        3.     Assignment to a Magistrate Judge. Under 28 U.S.C. § 636,

  18   the parties may consent to have a Magistrate Judge preside over all proceedings.

  19   The Magistrate Judges who accept those designations are identified on the

  20   Central District's website, which also contains the consent form.
  21
  22        4.     Electronic Filing. As of January 1, 2008, the United States
  23   District Court for the Central District of California implemented mandatory
  24   electronic filing ("e−filing") of documents in all new and pending civil cases.

  25   Information about the Court's Electronic Case Filing system is available on

  26   the Court's website at www.cacd.uscourts.gov/cmecf.
  27        All documents required to be "e−filed" in this matter can be found in
  28   General Order No. 10−07 and L.R. 5−4. The Court specifically directs litigants

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       to L.R. 5−4.3.1, requiring that all electronically filed documents be created by
  2    publishing the document to PDF, and not by scanning paper documents.
  3
  4          5.     Mandatory Chambers Copies. Counsel shall provide one

  5    conformed chambers copy of ONLY the following filed documents.
  6          Civil matters: Motions and related documents (opposition, replies,
  7          exhibits); ex parte applications and related documents oppositions and
  8          exhibits); and Joint Rule 26(f) reports;
  9
  10         Criminal matters: All motions and related documents and exhibits;
  11         plea agreements(s); and sentencing memorandum and objections to the
  12         pre−sentence reports.

  13
  14         Chambers copies shall be delivered to the "Courtesy Box," located
  15   outside of Courtroom 1 on the 2nd floor at the United States District Court,
  16   3470 Twelfth Street, Riverside, California 92501, no later than 5:00 p.m. on
  17   the day following the "e−filing." All chambers copies shall comply fully with

  18   the document formatting requirements of L.R. 11−3, including the "backing"

  19   and "tabbing" requirements of Local Rules 11−3.5 and 11−5.3, respectively.

  20   If the filing party and their counsel fail to deliver a mandatory chambers copy
  21   in full compliance with this Order and L.R. 11−3, the Court may, on its own
  22   motion, reschedule any related hearing and impose sanctions.
  23
  24         6.     Proposed Orders. Each party filing or opposing a motion or

  25   seeking the determination of any matter shall serve and electronically lodge a

  26   proposed order which sets forth the relief or action sought and a brief statement
  27   of the rationale for the decision with appropriate citations.
  28   ///

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            7.     Presence of Lead Counsel. Lead trial counsel for each party
  2    must attend any scheduling and pretrial conferences set by the Court. Failure
  3    of lead trial counsel to appear for those proceedings is a basis for sanctions.
  4
  5         8.     Discovery. All discovery matters have been referred to a United
  6    States Magistrate Judge. The Magistrate Judge's initials follow the District Judge's
  7    initials in the case number assigned to the matter. The words "DISCOVERY
  8    MATTER" shall appear in the caption of all documents relating to discovery to
  9    insure proper routing. Counsel shall deliver mandatory chambers copies of
  10   discovery−related papers to the Magistrate Judge assigned to the case rather
  11   than to this Court.
  12
  13        9.     Motions − General Requirements.
  14               a.        Time for Hearing Motions. Motions shall be filed and set
  15   for hearing in accordance with L.R. 6−1. Motions will be heard on Mondays
  16   commencing at 9:00 a.m. Any motion noticed for a holiday shall automatically
  17   be set to the next Monday without further notice to the parties.

  18               b.        Length and Format of Motions. Memoranda of Points and

  19   Authorities in support of or in opposition to motions shall not exceed 25 pages.

  20   Replies shall not exceed 12 pages. Only in rare instances, and for good cause
  21   shown, will the Court grant an application to extend these page limitations. When
  22   citing to legal databases, wherever possible cite to Westlaw rather than Lexis.
  23        If documentary evidence in support of or in opposition to a motion exceeds
  24   50 pages, the evidence must be separately bound and tabbed and include an index.

  25   If such evidence exceeds 200 pages, the documents shall be placed in a binder,

  26   with an index and with each item of evidence separated by a tab divider.
  27               c.        Withdrawal or Non−Opposition of Motions. In the
  28   event that the parties resolve a pending motion, they must notify the Court

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       approximately one week before the hearing date. Sanctions may issue for
  2    failure to comply with this requirement, or the broader requirement in L.R. 7−16
  3    that any party who intends to withdraw a motion, not oppose a motion, or seek
  4    a continuance of the hearing date for a motion, must notify the court by noon

  5    on the Tuesday preceding the hearing date.
  6
  7         10.    Motions to Amend. In addition to the requirements of L.R. 15,
  8    all motions to amend pleadings shall (1) state the effect of the amendment and
  9    (2) identify the page(s), line number(s), and wording of any proposed change
  10   or addition of material.
  11
  12        11.    Class Actions. Not withstanding Local Rule 23−3, the deadline

  13   for the filing of a motion for class certification will be set during the Scheduling
  14   Conference and/or in a Scheduling Order. NO REQUEST FOR RELIEF FROM
  15   LOCAL RULE 23−3 IS NECESSARY.
  16
  17        12.    Motions for Summary Judgment or Partial Summary Judgment.

  18   No party may file more than one motion pursuant to Fed. R. Civ. P. 56 regardless

  19   of whether such motion is denominated as a motion for summary judgment or

  20   summary adjudication. Parties offering evidence in support of, or in opposition
  21   to, a Rule 56 motion must cite to specific page and line numbers in depositions
  22   and paragraph numbers in affidavits. Furthermore, such evidence must be
  23   authenticated properly. The Court directs the parties to become familiar with
  24   Orr v. Bank of America, NT & SA, 285 F.3d 764 (9th Cir. 2002).

  25               a.     Statements of Undisputed Facts and Genuine Disputes.

  26   The moving party's brief shall be accompanied by a Statement of Undisputed
  27   Facts ("SUF"). The SUF shall be presented in a table format and include the
  28   following columns:

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                           i.     The first column shall contain the number of the fact
  2                               alleged to be undisputed.
  3                        ii.    The second column shall contain a plain statement
  4                               of the fact. Facts shall not be compound. If, for

  5                               instance, the required response is that the fact is
  6                               disputed in part, the fact is compound. Further,
  7                               neither legal arguments nor conclusions constitute
  8                               facts.
  9                        iii.   The third column shall contain a citation to
  10                              admissible evidence the party believes supports the
  11                              proffered fact.
  12        For example:

  13   Pl.'s   Fact                                                Supporting Evidence
       SUF No.
  14
       1.         Plaintiff was driving her car when she           Decl. of Plaintiff ¶ 2.
  15              went through the intersection.
       2.         The light was green when Plaintiff went          Decl. of Plaintiff ¶4.
  16              through the intersection.
  17                                                          Decl. of Plaintiff ¶ 7;
       3.         Plaintiff was driving at 35 miles per hour
                  when she traveled through the intersection. Decl.
                                                                    of Plaintiff's
  18                                                          Expert ¶ 14.

  19    . . .     . . .                                            . . .

  20
  21        The party opposing the summary judgment motion shall include with its
  22   opposition a Statement of Genuine Disputes of Material Fact that includes the
  23   moving party's table; but the opposing party shall add a fourth column to the
  24   moving party's table identifying those facts that are in dispute, briefly explaining
  25   the dispute, and citing the evidence supporting the dispute. The opposing party
  26   shall not set forth legal or evidentiary objections in the statement of genuine

  27   disputes of material fact. For example:

  28

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  1
       Pl.'s       Fact                   Supporting        Def.'s Response
  2    SUF No.                            Evidence
       1.          Plaintiff was          Decl. of          Undisputed.
  3                driving her car        Plaintiff ¶ 2.
                   when she went
  4                through the
                   intersection.
  5
       2.          The light was          Decl. of          Disputed. The light was red
  6                green when             Plaintiff ¶ 4.    when Plaintiff traveled through
                   Plaintiff went                           the intersection.
  7                through the                              (Decl. of Defendant ¶ 6.)
                   intersection.
  8
       3.          Plaintiff was          Decl. of          Disputed. Plaintiff was driving
  9                driving at 35          Plaintiff ¶ 7;    52 miles per hour when she
                   miles per hour         Dec. of           went through the intersection.
  10               when she traveled      Plaintiff's       (Decl. of Defendant's Expert
                   through the            Expert ¶ 14.      ¶ 9.)
  11               intersection.
  12
  13    . . .       . . .                 . . .              . . .

  14        If a party fails to dispute a fact properly by offering evidence that does
  15   not contradict the proffered fact, the Court will deem the fact undisputed for
  16   purposes of the motion. See Fed. R. Civ. P. 56(e)(2), L.R. 56−3.
  17        If the party opposing the summary judgment motion wishes to include its
  18   own set of undisputed facts, it may include them in a second table at the end
  19   of its statement of genuine disputes of material fact. The opposing party's
  20   undisputed facts shall be set forth in the same manner as the moving party's
  21   SUF. For example:
  22   Def.'s       Fact                                   Supporting Evidence
       SUF No.
  23
       1.           The tires on Plaintiff's car had       Decl. of Mechanic ¶ 5.
  24                only 1 millimeter of tread
                    remaining at the time of the
  25                accident.

  26    . . .        . . .                                 . . .

  27        If either party fails to provide a pincite to the supporting evidence, the
  28   Court will deem the proffered fact (or dispute) unsupported. See generally

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       Christian Legal Soc. v. Wu, 626 F.3d 483, 488 (9th Cir. 2010) ("Judges are not
  2    like pigs, hunting for truffles buried in briefs." (quoting Greenwood v. FAA,
  3    28 F.3d 971, 977 (9th Cir. 1994) (quoting United States v. Dunkel, 927 F.2d
  4    955, 956 (7th Cir. 1991) (per curiam)) (alteration omitted)))).

  5                b.      Objections to Evidence. Parties shall file any legal objections
  6    to the other party's proffered evidence under separate cover. The evidentiary
  7    objections should be presented in a three−column format and include the following
  8    columns:
  9                        i.     The first column shall contain the number of the
  10                              the fact objected to, using the numbering submitted
  11                              in the moving party's SUF if applicable.
  12                       ii.    The second column shall identify the item objected

  13                              to, including its page and line number if applicable.
  14                       iii.   The third column shall set forth a concise objection
  15                              (e.g., hearsay, lacks foundation, etc.) with a citation
  16                              to the Federal Rules of Evidence or, where applicable,
  17                              a case citation.

  18        For example:
  19
       Fact No. Fact                                        Objection
  20
       3.         Plaintiff was driving at 35 miles per     Irrelevant. F.R.E. 402.
  21              hour when she traveled through the
                  intersection. (Decl. of Plaintiff ¶ 7;
  22              Decl. of Plaintiff's Expert ¶ 14)
  23
  24    . . .     . . .                                      . . .

  25
  26        13.     Ex Parte Applications. Ex parte applications are considered on
  27   the papers and are not usually set for hearing. Counsel are advised that this

  28   Court allows ex parte applications solely for extraordinary relief. Sanctions may

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       be imposed for misuse of ex parte applications. See In re Intermagnetics Am.,
  2    Inc., 101 B.R. 191 (Bankr. C.D. Cal. 1989). Counsel also should become familiar
  3    with Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp.
  4    488 (C.D. Cal. 1995), regarding ex parte applications.

  5         Counsel's attention is directed to L.R. 7−19. The moving party's declaration
  6    in support of an ex parte application shall show compliance with L.R. 7−19 and
  7    this Order and shall include a statement of opposing counsel's position. Failure
  8    to do so ensures the application will be DENIED. If counsel does not intend to
  9    oppose an ex parte application, counsel must inform the Courtroom Deputy
  10   Clerk, (951) 328−2254. As with all motion papers, counsel must deliver a
  11   conformed courtesy copy of the papers to the "Courtesy Box", located outside
  12   of Courtroom 1 on the 2nd floor at United States District Court, 3470 Twelfth

  13   Street, Riverside, California 92501. Counsel will be notified by the Courtroom
  14   Deputy Clerk of the Court's ruling or of a hearing time and date should the
  15   Court determine that a hearing is necessary.
  16
  17        14.     Stipulations. Stipulations extending scheduling dates set by this

  18   Court are not effective unless approved by the Court. Continuances will be

  19   granted only upon a showing of good cause.

  20
  21        15.     Communications with Chambers. Unless requested to do so,
  22   counsel shall not attempt to contact the Court or its staff by telephone or by
  23   any other ex parte means. Counsel are directed to review the Central District's
  24   at http://www.cacd.uscourts.gov for the Local Rules, filing procedures, judges'

  25   procedures and schedules, calendars, forms, and Pacer access. Counsel may

  26   contact the Courtroom Deputy Clerk, Maynor Galvez, by telephone at (951) 328−
  27   2254 or by email at maynor_galvez@cacd.uscourts.gov only in the event that
  28   counsel cannot find the desired information through all available resources.

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             16.   Telephonic Appearances. Telephonic appearances will only be
  2     allowed upon good cause. To request a telephonic appearance counsel must
  3     file a request with a proposed order one week before the scheduling conference.
  4
           IT IS SO ORDERED.
  5
  6    Dated: March 27, 2018
  7
                                                Jesus G. Bernal
  8                                             United States District Judge

  9     *      Copies of the Local Rules are available on our website at
        "http://www.cacd.uscourts.gov" or they may be purchased from one of the
  10    following:
  11    Los Angeles Daily Journal
        915 East 1st Street
  12    Los Angeles, California 90012
  13    West Publishing Company
  14    610 Opperman Drive
        Post Office Box 64526
  15    St. Paul, Minnesota 55164−0526

  16    Metropolitan News
        210 South Spring Street
  17    Los Angeles, California 90012

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